Case 4:09-cr-00043-SPF Document 252-2 Filed in USDC ND/OK on 11/20/09 Page 1 of 4

UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA, )
Plaintiff,
v. Case No. 09-CR-043-JHP
LINDSEY KENT SPRINGER,
OSCAR AMOS STILLEY, )
Defendants. )

RECEIPT
On [O Of received digital discovery evidence on one (1) CD disc; labeled as
follows: 09-CR-043-SPF, 10-15-09
Including scanned documents with the following Bates #s:

« GJ01501 through GJ 01697, consisting of two documents inadvertently not
included with the Patricia Turner Grand Jury Transcript provided in the initial
discovery, the Grand Jury Transcript of Eddy Patterson from 2002, and the Grand
Jury Transcript of Judith Patterson from 2004

¢ MOI 00252 through MOI 00440, consisting of documents related to the interviews of

Ernest Swisher, Laurel Gardner, Karen Ouwenga, Tiffini Berman, Brenda Frederiksen,
Judith Patterson, Salvatore Pizzino, and Melissa Pizzino

¢ SUBPOENA 01032 through SUBPOENA 01085, consisting of additional documents
provided by Campbell Chevrolet, Earthlink, and First United Bank

Page 1 of 2
Case 4:09-cr-00043-SPF Document 252-2 Filed in USDC ND/OK on 11/20/09 Page 2 of 4

* SW 04753 through SW 04755, consisting of three documents from LCM Motorcars
inadvertently not included with the seized search warrant documents provided in the
initial discovery regarding the Defendants above, from Assistant United States Attomey,
Kenneth P. Snoke and Special Assistant United States Attorney, Charles A. O'Reilly.
The password to open this CD is 09-cr-043-SPF.

WITNESS: , df fof (Ww

Page 2 of 2
Case 4:09-cr-00043-SPF Document 252-2 Filed in USDC ND/OK on 11/20/09 Page 3 of 4

UNITED STATES DISTRICT COURT FOR THE [Yan Vy ed
NORTHERN DISTRICT OF OKLAHOMA

CF 27 2099
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Plaintiff, )
)
v. ) Case No. 09-CR-043-JHP
)
LINDSEY KENT SPRINGER, )
OSCAR AMOS STILLEY, )
)
Defendants. )

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The password to open this CD is 09-cr-043-SPF.

OSCAR AMOS STMLLEY
7103 Race Track Loop
Ft. Smith, AR 72901

WITNESS:

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